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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Jones & Jones Leasing Co., LLC
Plaintiff, Case No. 2:19-CV-12746
Hon. Linda V. Parker

Vv. Magistrate Anthony P. Patti

Zepsa Industries, Inc.,

Defendant.
DECLARATION OF WAYNE D. JONES
STATE OF MICHIGAN )
)SS
COUNTY OF WAYNE )

Wayne D. Jones, being first duly sworn, states as follows:

1. I have personal knowledge of the facts set forth in this affidavit, and if
sworn as a witness, can competently testify to them.

2. I am the majority member and manager of Jones & Jones Leasing Co.,
LLC (“Jones”).

3. Jones is a Delaware limited liability company with its principal place
of business in Ann Arbor, Michigan.

4, Jones is owned by two members, both of whom are residents of Florida.

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5. In early 2018 Jones sought proposals from contractors for work on a
residence that Jones is building in Ann Arbor Michigan (the “Residence”).

6. After various meetings and negotiation over scope and terms of the
work, I signed, on behalf of Jones, two separate contracts for Zepsa to complete
work on the Residence: 1) to complete to design, manufacture, and install stairways;
one interior and one exterior (the “Stairs Contract”); and 2) to design, manufacture
and install “millwork” (e.g. cabinetry, trim, doors, paneling) for the Residence (the
“Millwork Contract’) (collectively, the “Contracts”).

7. Each of the Contracts includes a “proposal” prepared by Zepsa, which
details various terms and conditions including pricing, terms, specifications, scope,
warranties, and various other conditions detailing the work it proposed to do.

8. Zepsa sent the final copies of the proposals and other contract
documents by email for review and execution. At Zepsa’s insistence, I signed and
dated each page of the proposals for both Contracts.

9. At no time prior to the eventual termination of the Contracts did anyone
from Zepsa discuss or provide any additional documents or terms that were to be
part of the Contracts.

10. Specifically, the “Terms and Conditions” pages attached to Zepsa’s
motion in this case as Exhibit 1 were not included in any of the documents I reviewed

or signed. Prior to termination of the Contracts, Zepsa never provided copies of the

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terms and conditions pages and never discussed the incorporation of its purported
Terms and Conditions into the Contracts.

11. Ifthe Terms and Conditions had been provided or communicated to me,
I would not have agreed to them as part of the Contracts.

DECLARATION

I, Wayne D. Jones, pursuant to 28 U.S.C. § 1746, declare under penalty of

tofbm

Wayfe D. Jones

perjury that the foregoing is true and correct.

Executed on October (420 19
Subscribed and sworn to before me naa
this (4+ day of OTL 20 19. Notary Public - State of Michigan

County of Livingston

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Notary Public, “= Arie A County, One xX \
My commission expires: (>| 0 oY

